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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

    GLAXOSMITHKLINE BIOLOGICALS                   )
    SA AND GLAXOSMITHKLINE LLC,                   )
                                                  )
                    Plaintiffs,                   )
                                                  ) C.A. No. 23-831-MN
    v.                                            )
                                                  ) JURY TRIAL DEMANDED
    PFIZER INC.,                                  )
                                                  )
                    Defendant.                    )

                            JOINT STIPULATION OF DISMISSAL

         Pursuant to Rule 41(a)(l)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs

GlaxoSmithKline Biologicals SA and GlaxoSmithKline LLC (collectively “GSK”) and Defendant

Pfizer Inc. (“Pfizer”) hereby stipulate that GSK’s claims in the above-captioned action are hereby

dismissed with prejudice, and Pfizer’s counterclaims in the above-captioned action are hereby

dismissed with prejudice. Each side shall bear its own costs, expenses, and attorneys’ fees.


 /s/ Sara M. Metzler                             /s/ Megan E. Dellinger
 Frederick L. Cottrell, III (#2555)              Jeremy Tigan (#5239)
 Kelly E. Farnan (#4395)                         Megan E. Dellinger (#5739)
 Sara M. Metzler (#6509)                         Morris, Nichols, Arsht & Tunnell LLP
 RICHARDS, LAYTON & FINGER, P.A.                 1201 North Market Street
 920 N. King Street                              P.O. Box 1347
 Wilmington, DE 19801                            Wilmington, DE 19801
 (302) 651-7700                                  (302) 658-9200
 cottrell@rlf.com                                jtigan@morrisnichols.com
 farnan@rlf.com                                  mdellinger@morrisnichols.com
 metzler@rlf.com
                                                 Attorneys for Defendant Pfizer Inc.
 Attorneys for Plaintiffs GlaxoSmithKline
 Biologicals SA and GlaxoSmithKline, LLC

 Dated: April 3, 2025                            SO ORDERED this 4th day of April 2025.


                                                 ___________________________________
                                                 The Honorable Maryellen Noreika
                                                 United States District Judge
